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                                                    UNITED STATES DISTRICT COURT
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                                                         DISTRICT OF NEVADA
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                                                                      2:08-CR-332 JCM (GWF)
                  7     UNITED STATES OF AMERICA,

                  8                    Plaintiff,
                  9     v.
                10
                        DWIGHT RAMON POLLARD,
                11
                                       Defendant.
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                13                                                 ORDER
                14           Presently before the court is the matter of USA v. Pollard et al., case number 2:08-cr-00332-
                15    JCM-GWF-6.
                16           On November 20, 2012, the Ninth Circuit vacated and remanded the sentence imposed by
                17    the court in this matter as to defendant Anjali Yasmin Aurora. (Doc. # 455). The Ninth Circuit
                18    ordered that this court enter an in personam criminal money forfeiture money judgment against
                19    defendant Anjali Yasmin Aurora, in light of United States v. Newman, 659 F.3d 1235 (9th Cir.
                20    2011), cert. denied, 132 S. Ct. 1817 (2012). (Id.). On December 19, 2012, this court issued an order
                21    on mandate. (Doc. # 463).
                22           Accordingly,
                23           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the government prepare
                24    and submit an appropriate judgment.
                25           DATED December 21, 2012.
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                27
                                                            UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge
